       Case 1:15-cv-05871-KPF Document 178 Filed 10/07/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KELLY PRICE,

                            Plaintiff,
                                                     15 Civ. 5871 (KPF)
                     -v.-
                                                           ORDER
THE CITY OF NEW YORK, et al.,

                            Defendants.

KATHERINE POLK FAILLA, District Judge:

      On March 25, 2020, in light of the COVID-19 Pandemic and restrictions

on access to the Courthouse, the Court adjourned a settlement conference in

this matter sine die. (Dkt. #175). The Court has determined that a status

conference is now necessary to determine the way ahead in this matter.

Accordingly, the parties are hereby ORDERED to appear for a telephonic

conference on November 5, 2020, at 2:00 p.m. The dial-in instructions

are as follows: At 2:00 p.m. the parties will dial (888) 363-4749 and enter

access code 5123533. Please note the conference will not be available prior to

2:00 p.m.

      The Clerk of Court is directed to mail a copy of this Order to Plaintiff’s

address of record.

      SO ORDERED.

Dated: October 7, 2020
       New York, New York

                                               KATHERINE POLK FAILLA
                                              United States District Judge
